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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION
                            www.flnb.uscourts.gov

In re:                                        Chapter 11

PRIORIA ROBOTICS, INC.                        Case No. 18-10018-KKS

         Debtor.
                                       /

                   DEBTOR’S MOTION TO CONVERT
              CHAPTER 11 CASE TO CASE UNDER CHAPTER 7

         The Debtor, PRIORIA ROBOTICS, INC., by and through its undersigned

attorneys, requests that its Chapter 11 Case be converted to a case under Chapter 7,

pursuant to §1112(a) of the Bankruptcy Code.

         Dated: February 13, 2018

                                       /s/ Scott A. Stichter
                                       Scott A. Stichter (FBN 0710679)
                                       Stichter Riedel Blain & Postler, P.A.
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                                       Tampa, Florida 33602
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                                       Attorneys for Debtor
             Case 18-10018-KKS     Doc 41     Filed 02/13/18   Page 2 of 3




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Debtor’s

Motion to Convert Chapter 11 Case to Case Under Chapter 7 has been furnished

on this 13th day of February, 2018, by either direct electronic mail or U.S. mail to

the 20 Largest Unsecured Creditors and

      Jodi Daniel Cooke
       jcooke@srbp.com;jcookeecf@srbp.com;lhathaway@srbp.com,
       lhathaway@srbp.com;jcooke.ecf@srbp.com
      Charles F. Edwards charles.edwards@usdoj.gov
      Scott A. Stichter sstichter.ecf@srbp.com
      United States Trustee USTPRegion21.TL.ECF@usdoj.gov


                                       /s/ Scott A. Stichter
                                       Scott A. Stichter




                                          2
Label Matrix for local noticing   Case 18-10018-KKS
                                              *3D Systems,Doc
                                                          Inc 41              Filed 02/13/18        Page 3 of
                                                                                                       *Bank of 3America, Business Card
1129-1                                               P.O. Box 534963                                      PO Box 15796,
Case 18-10018-KKS                                    Atlanta, GA 30353-4963                               Wilmington, DE 19886-5796
Northern District of Florida
Gainesville
Tue Feb 13 14:27:12 EST 2018
*Christopher L Jacobs                                *City of Gainesville                                 *Cushnoc Group, LLC
222 Crooked Tree Trail                               Billing and Collection                               PO Box 498038
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                                                     Gainesville, FL 32627-0490


(p)DELL FINANCIAL SERVICES                           *Demmer Corporation                                  *Fidelity Investments
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*Florida Dept of Economic Opportunity                *Gilligan, Gooding & Franjola, P.A.                  *Global Capital Markets Incorporated
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*HSH Analytics LLC                                   *Hutchison Law Group                                 (p)IPFS CORPORATION
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*Ramsey UAS Consulting                               *Southern Strategy Group                             *UF (MIST) Board of Trustees
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Contracts and Grants                                 PO Box 6426,                                         12821 Old Fort Road Suite 302
PO Box 113001                                        Carol Stream, IL 60197-6426                          Fort Washington, MD 20744-2837
Gainesvile, FL 32611-3001




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


*Dell Business Credit                                *IPFS Corporation                                    End of Label Matrix
P.O. Box 5275                                        900 Ashwood Parkway Suite 370                        Mailable recipients      20
Carol Stream, IL 60197-5275                          Atlanta, GA 30338                                    Bypassed recipients       0
                                                                                                          Total                    20
